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                     EXHIBIT 1
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May 22, 2018

Honorable Kenneth M. Karas
United States District Judge
Federal Building and United States Courthouse
300 Quarropas Street
White Plains, NY 10601

RE: Mitchell Klein

Dear Judge Karas,


Since 2009 stress is a daily feeling. It started with normal fear of the unknown. The day to day desire to
hibernate at home afraid of meeting people, to be in the public. I lost a lot of friends and heard a lot of
gossip and rumors that would eat at me over the years. A feeling of depression (and dread comes over
me each morning as I wake up and face the day} has invoked me for nine years. Every time I am alone I
am overwhelmed with thoughts of "what if' or "if only". Whether it's in the shower or on a drive
somewhere it is constantly on my mind. I could be with my wife and she might be telling a story and I
realize I haven't heard a thing she was saying because I'm thinking about the mistakes I made. It hurts
each and every day.

I always lived my life trying to be a caring good person, someone who others whether it be family,
friends or people in need could turn to for help. The mistakes I made have hurt not just me, but others
that relied on me and that makes it even harder to cope with. The Cleary's had been clients of mine for
approximately twenty years. Rich Cleary actually helped me with my son's Cub Scout derby car about
twenty-five years ago. I have incredible remorse which I know will remain throughout my lifetime.

It's true that stress affects you physically.
                                                                 . Stress has also affected my ability to
sleep at night. Unless I am totally exhausted at night I could lay tossing and turning for hours at a time.

Stress has also affected the love of my life, my wife, Laurette.




Learning to live with the regrets of my action or inaction is the hardest of all. Since 2009 I have tried to
remain the person I grew up trying to be. A giver to society. A caring, hard-working dependable human
being that others can count on. Whether it be family, friends, or charitable organizations I pledge to be
there now and in the future. I live with shame and agony each and every day. For that I need to look in
the mirror and know I am doing everything I can to help.




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Mitchell Klein
